    Case 3:06-cr-00120-SRU         Document 531         Filed 05/02/07      Page 1 of 1




                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                       :
                                               :
            v.                                 :                   Criminal Case No.
                                               :                   3:06 CR 120 (SRU)
BENNY RIVERA                                   :


                                         ORDER



     The defendant’s surrender date is hereby extended until May 21, 2007 at 2:00 p.m.

     It is so ordered.

     Dated at Bridgeport, Connecticut, this 2nd day of May 2007.



                                                   /s/ Stefan R. Underhill
                                                   Stefan R. Underhill
                                                   United States District Judge
